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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
__________________________________
                                    :
Angel Saez,                         :
                                    :
                 Plaintiff,         : Civil Action No.: 3:10-cv-01248
                                    :
       v.                           :
                                    :
Asset Recovery Associates; and DOES :
1-10, inclusive,                    :
                                    :
                 Defendant.         :
__________________________________ :
                                    :

                            STIPULATION OF DISMISSAL

         WHEREAS, the parties to the above-entitled action have resolved the

issues alleged in the complaint in this action, and have negotiated in good faith

for that purpose; and

         WHEREAS, none of the parties to the above-captioned action is an infant or

incompetent person; and

         WHEREAS, the parties in the above-captioned action wish to discontinue

the litigation;

IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or

their respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the

above-captioned action is hereby discontinued against Defendants Asset

Recovery Associates and DOES 1-10 with prejudice and without costs to any

party.
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Angel Saez                        Asset Recovery Associates and
                                  DOES 1-10

  /s/ Sergei Lemberg                    /s/ Bradford R. Carver

Sergei Lemberg, Esq. (Juris No.   Bradford R. Carver, Esq.
425027)                           Hinshaw & Culbertson LLP
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Attorney for Plaintiff            Attorney for Defendant


_____________________________
SO ORDERED




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                           CERTIFICATE OF SERVICE

      I hereby certify that on March 16, 2011, a true and correct copy of the
foregoing Stipulation of Dismissal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                      By_/s/ Sergei Lemberg_________
                                          Sergei Lemberg
